           Case 5:23-cv-00802         Document 172-5              Filed 04/28/25        Page 1 of 6 PageID #: 5188
                                         ALL SUPPLEMENTS REQUIRE PRIOR                                     Workfile ID:           d08b21f3
                                                    APPROVAL
                                       TO FILE A SUPPLEMENT PLEASE VISIT THE FOLLOWING
                                                  WEBSITE: SHOPS.SNAPSHEET.ME
                                                For questions or assistance please call
                                                           (312) 548-6940
                                                         CHICAGO, IL 60654

                                                                  For:
                                        STATE FARM INSURANCE COMPANIES
                                                            STATE FARM - ALL



                                       Supplement of Record 1 with Summary

Owner: VANOVER, TERRY                                                                                                       Job Number:
                                                   Written By: Victoria Echevarria
                                         Adjuster: Team, Express, (855) 341-8184 Business

Insured:             VANOVER, TERRY        Policy #:                                        Claim #:           48-40L8-41C01
Type of Loss:        Collision             Date of Loss:      10/1/2022 1:00 PM             Days to Repair:    15
Point of Impact: 16 Non-Collision


Owner:                                    Inspection Location:                              Repair Facility:
VANOVER, TERRY                            BAM SALES LLC D.B.A. Jennings RV Sa               BAM SALES LLC D.B.A. Jennings RV Sa
PO BOX 139                                506 Mount Horeb Rd                                506 Mount Horeb Rd
CLEAR FORK, WV 24822                      Princeton, WV 24739                               Princeton, WV 24739
(304) 719-8685 Cell                       Repair Facility                                   (304) 487-0495 Business
(304) 682-8685 Evening                    (304) 487-0495 Business




                                                              VEHICLE

2014 KEYS MOUNTAINEE White

VIN:            4YDF34526E4730009            Production Date:       4/2014                   Interior Color:
License:        NA                           Odometer:                                       Exterior Color:        White
State:                                       Condition:             Good




9/28/2023 10:11:54 AM                                               314655                                                          Page 1
                                                                                                       SNAPSHEET000153
        Case 5:23-cv-00802                    Document 172-5           Filed 04/28/25            Page 2 of 6 PageID #: 5189
                                                 Supplement of Record 1 with Summary

Owner: VANOVER, TERRY                                                                                                           Job Number:
2014 KEYS MOUNTAINEE White



 Line                    Oper                 Description               Part Number            Qty     Extended            Labor             Paint
                                                                                                         Price $
   1     #                       2014 Mountainee                                                 1
   2     #
   3     #                Rpr    Interior Closet Side Panel                                                                    2.0
                                 Note: to align and repair
   4     #                Repl   Nails                                                           1          15.00            Incl.
                                 Note: lowes.com
   5     #         S01    R&I    Front cap                                                                                   12.0
   6     #         S01    R&I    Insulation                                                                                    3.0
   7     #         S01    R&I    Luan                                                                                          4.0
   8     #         S01    R&I    Rgt and left vertical moldigns                                                                3.0
   9     #         S01    R&I    Upper and lower lap seals                                                                     3.0
  10     #         S01    R&I    Hitch                                                                                         4.0
  11     #         S01    R&I    Compartment doors                                                                             5.0
  12     #         S01    R&I    Marker lights                                                                                 1.3
  13     #         S01    Repl   Aluminum structure                                              1       1,000.00            14.5
  14     #         S01    Repl   Welding supplies                                                1         250.00
  15     #         S01    Repl   Shop supplies                                                   1         260.00
  16     #         S01    Repl   Decals                                                          1                             4.0
  17     #         S01    Repl   nonsag sealant                                                  3          35.55
  18     #         S01    Repl   Sealant                                                         6         119.88              4.0
  19     #         S01    Repl   Butyl tape                                                      3          41.85
  20     #         S01    Repl   Freight /crate subject to vendor                                1
                                 invoice
                                                                    SUBTOTALS                          1,722.28              59.8              0.0


                                                                    NOTES

Estimate Notes:
OEM Part pricing per Duncan Estimating Global Average Pricing. Estimate Flat Rate Labor times derived from Duncan Estimating for Specialty
vehicle model database.
Price adjustment subject to invoice

Prior Damage Notes:
None seen




9/28/2023 10:11:54 AM                                                     314655                                                             Page 2
                                                                                                          SNAPSHEET000154
        Case 5:23-cv-00802                    Document 172-5             Filed 04/28/25          Page 3 of 6 PageID #: 5190
                                               Supplement of Record 1 with Summary

Owner: VANOVER, TERRY                                                                                                          Job Number:
2014 KEYS MOUNTAINEE White


                                 ESTIMATE TOTALS
                                 Category                                                         Basis                    Rate         Cost $
                                 Parts                                                                                                 1,722.28
                                 Body Labor                                                     59.8 hrs    @       $ 125.00 /hr       7,475.00
                                 Subtotal                                                                                              9,197.28
                                 Sales Tax                                                    $ 9,197.28    @         6.0000 %          551.84
                                 Total Cost of Repairs                                                                                9,749.12
                                 Deductible                                                                                             250.00
                                 Total Adjustments                                                                                     250.00
                                 Net Cost of Repairs                                                                                  9,499.12



Register online to check the status of your claim and stay connected with State Farm®. To register, go to http://www.statefarm.com/
and select Check the Status of a Claim. If you are already registered, thank you!




9/28/2023 10:11:54 AM                                                       314655                                                        Page 3
                                                                                                           SNAPSHEET000155
        Case 5:23-cv-00802                   Document 172-5            Filed 04/28/25        Page 4 of 6 PageID #: 5191
                                                Supplement of Record 1 with Summary

Owner: VANOVER, TERRY                                                                                                Job Number:
2014 KEYS MOUNTAINEE White



                                                           SUPPLEMENT SUMMARY

 Line                    Oper                Description               Part Number          Qty    Extended       Labor     Paint
                                                                                                     Price $
Added Items
  5     #        S01     R&I    Front cap                                                                          12.0
  6     #        S01     R&I    Insulation                                                                          3.0
  7     #        S01     R&I    Luan                                                                                4.0
  8     #        S01     R&I    Rgt and left vertical moldigns                                                      3.0
  9     #        S01     R&I    Upper and lower lap seals                                                           3.0
  10    #        S01     R&I    Hitch                                                                               4.0
  11    #        S01     R&I    Compartment doors                                                                   5.0
  12    #        S01     R&I    Marker lights                                                                       1.3
  13    #        S01     Repl   Aluminum structure                                            1     1,000.00       14.5
  14    #        S01     Repl   Welding supplies                                              1       250.00
  15    #        S01     Repl   Shop supplies                                                 1       260.00
  16    #        S01     Repl   Decals                                                        1                     4.0
  17    #        S01     Repl   nonsag sealant                                                3        35.55
  18    #        S01     Repl   Sealant                                                       6       119.88        4.0
  19    #        S01     Repl   Butyl tape                                                    3        41.85
  20    #        S01     Repl   Freight /crate subject to vendor                              1
                                invoice
                                                                    SUBTOTALS                      1,707.28        57.8       0.0



                                                                 RATE CHANGES

            Body Labor           (Est)           2.0 hrs   @       $ 45.00 /hr    ( 80.00     to     125.00 ) =     90.00



                                                      CHANGES TO ADJUSTMENTS




9/28/2023 10:11:54 AM                                                    314655                                             Page 4
                                                                                                     SNAPSHEET000156
       Case 5:23-cv-00802                Document 172-5         Filed 04/28/25         Page 5 of 6 PageID #: 5192
                                          Supplement of Record 1 with Summary

Owner: VANOVER, TERRY                                                                                             Job Number:
2014 KEYS MOUNTAINEE White


                             TOTALS SUMMARY
                             Category                                                    Basis                Rate      Cost $
                             Parts                                                                                     1,707.28
                             Body Labor                                                57.8 hrs   @    $ 125.00 /hr    7,225.00
                             Additional Supplement Labor                                                                 90.00
                             Subtotal                                                                                  9,022.28
                             Sales Tax                                              $ 9,022.28    @      6.0000 %       541.34
                             Total Supplement Amount                                                                  9,563.62
                             NET COST OF SUPPLEMENT                                                                   9,563.62



                                         CUMULATIVE EFFECTS OF SUPPLEMENT(S)

                                     Estimate                             185.50   Michael Gutierrez
                                     Supplement S01                   9,563.62     Victoria
                                                                                   Echevarria

                                     Workfile Total:        $        9,749.12
                                     TOTAL ADJUSTMENTS:     $         250.00
                                     NET COST OF REPAIRS:   $        9,499.12




Any person who knowingly presents a false or fraudulent claim for payment of a loss or benefit or knowingly presents
false information in an application for insurance is guilty of a crime and may be subject to fines and confinement in
prison.

CCC ONE Estimating - A product of CCC Intelligent Services Inc.

The following is a list of abbreviations that may be used in CCC ONE Estimating that are not part of the MOTOR
CRASH ESTIMATING GUIDE:
BAR=Bureau of Automotive Repair. EPA=Environmental Protection Agency. NHTSA= National Highway
Transportation and Safety Administration. PDR=Paintless Dent Repair. VIN=Vehicle Identification Number.




9/28/2023 10:11:54 AM                                            314655                                                   Page 5
                                                                                                  SNAPSHEET000157
       Case 5:23-cv-00802    Document 172-5    Filed 04/28/25   Page 6 of 6 PageID #: 5193
                              Supplement of Record 1 with Summary

Owner: VANOVER, TERRY                                                              Job Number:
2014 KEYS MOUNTAINEE White

*****INSURANCE COMPANY DISCLOSURES AND CUSTOMER NOTIFICATIONS*****

ANY PERSON WHO KNOWINGLY PRESENTS A FALSE OR FRAUDULENT CLAIM FOR PAYMENT OF A LOSS
OR BENEFIT OR KNOWINGLY PRESENTS FALSE INFORMATION IN AN APPLICATION FOR INSURANCE
IS GUILTY OF A CRIME AND MAY BE SUBJECT TO FINES AND CONFINEMENT IN PRISON.

THE FOLLOWING DISCLOSURE APPLIES TO THOSE PARTS IDENTIFIED AS NON-OEM ON THE
ESTIMATE:

THIS ESTIMATE HAS BEEN PREPARED BASED ON THE USE OF AFTERMARKET CRASH PARTS THAT ARE
NOT MANUFACTURED BY THE ORIGINAL MANUFACTURER OF THE VEHICLE OR BY A MANUFACTURER
AUTHORIZED BY THE ORIGINAL MANUFACTURER TO USE ITS NAME OR TRADEMARK. THE USE OF AN
AFTERMARKET CRASH PART MAY INVALIDATE ANY REMAINING WARRANTIES OF THE ORIGINAL
MANUFACTURER ON THAT CRASH PART.




9/28/2023 10:11:54 AM                           314655                                       Page 6
                                                                     SNAPSHEET000158
